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     MICHAEL CONNETT, ESQ., CA Bar No. 300314
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4    310-414-8146 Telephone
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5
     Attorneys for Plaintiffs
6
                                      UNITED STATES DISTRICT COURT
7                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
8
     _________________________________________
9     FOOD & WATER WATCH, et al.,              )
                                               ) Civ. No. 17-CV-02162-EMC
10                            Plaintiffs,      )
                  vs.                          ) CONNETT DECLARATION IN
11                                             ) SUPPORT OF ADMINISTRATIVE
      U.S. ENVIRONMENTAL PROTECTION            ) MOTION TO FILE UNDER SEAL
12    AGENCY, et al.                           )
                                               )
13                            Defendants.      )
                                               )
14                                             )
                                               )
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16          I am the lead attorney for Plaintiffs in the above-captioned case. I make this statement based on
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     personal knowledge and I am competent to testify to the matters stated herein.
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            1.      Exhibits 1, 2, and 3 to Plaintiffs’ Notice Regarding the National Toxicology Program’s
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     Assessment of Fluoride Neurotoxicity are documents that have been stamped “CONFIDENTIAL –
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21   SUBJECT TO PROTECTIVE ORDER” and, as such, must be filed under seal (see ECF No. 324 ¶ 2.13 &

22   ¶ 12.3).

23          2.      Plaintiffs’ Notice Regarding the National Toxicology Program’s Assessment of
24   Fluoride Neurotoxicity contains quotations from, and summaries of, the aforementioned documents
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     stamped “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.” This information comes within the
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     scope of the Stipulated Protective Order (see ECF No. 324 ¶ 3), and must be filed under seal. Plaintiffs are
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     thus filing an unredacted version of this Notice under seal.
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                                                   1
                                       DECLARATION OF MICHAEL CONNETT
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      I declare under penalty of perjury that the foregoing is true and correct.
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      Executed on December 14, 2022 in Exeter, New Hampshire.
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3                                            /s/ Michael Connett
                                             MICHAEL CONNETT
4                                            Attorney for Plaintiffs
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                                 DECLARATION OF MICHAEL CONNETT
